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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                                 Plaintiff,     )
                                                )
                 v.                             )       No. 15 C 2997
                                                )
THE STATE OF ILLINOIS, et al.,                  )       Judge Darrah
                                                )
                                                )
                                 Defendants.    )

                                 CORRECTED STATUS REPORT

          The defendants, the State of Illinois, the Illinois State Board of Elections, and Steven

Sandvoss, the Executive Director of the Illinois State Board of Elections, by their attorney, Lisa

Madigan, Attorney General of Illinois, submit the following status report required by the consent

decree.

          The status report filed on June 3, 2015 reported the wrong election dates. The date of the

special primary election is July 7, 2015. The date of the special general election is September 10,

2015.



                                                        Respectfully submitted,

LISA MADIGAN
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